      Case 8:22-bk-11137-SC                        Doc 6 Filed 07/12/22 Entered 07/12/22 07:05:02                             Desc Ch
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Information to identify the case:
Debtor 1              Sharon Waizenhofer                                                 Social Security number or ITIN       xxx−xx−5805
                      First Name   Middle Name      Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                      First Name   Middle Name      Last Name
(Spouse, if filing)
                                                                                         EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Central District of California
                                                                                         Date case filed for chapter 7 7/10/22
Case number:          8:22−bk−11137−SC


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Sharon Waizenhofer

2.      All other names used in the
        last 8 years

3.     Address                                   2222 E First St
                                                 Apt 412
                                                 Santa Ana, CA 92705

4.     Debtor's attorney                         Dhrumil Patel                                      Contact phone 657−210−1184
                                                 Law Office of Dhrumil Patel                        Email ____________________
       Name and address                          1076 S Hanlon Way
                                                 Anaheim, CA 92808

5.     Bankruptcy trustee                        Richard A Marshack (TR)                            Contact phone 949−333−7777
                                                 Marshack Hays LLP                                  Email ____________________
       Name and address                          870 Roosevelt
                                                 Irvine, CA 92620
                                                                                                                                               6/
                                                                                                        For more information, see pages 2 and 3 >
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Debtor Sharon Waizenhofer                                                                                            Case number 8:22−bk−11137−SC


6. Bankruptcy clerk's office                      411 West Fourth Street, Suite 2030,                              Hours Open: 9:00 AM − 4:00 PM
                                                  Santa Ana, CA 92701−4593
    Documents in this case may be filed at this                                                                    Contact phone 855−460−9641
    address. You may inspect all records filed
    in this case at this office or online at
    https://pacer.uscourts.gov.                                                                                    Dated: 7/12/22


7. Meeting of creditors                           August 23, 2022 at 08:00 AM                                      Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a later date.       TELEPHONIC MEETING, FOR
    questioned under oath by the trustee and      If so, the date will be on the court docket.                     INSTRUCTIONS, CONTACT THE
    by creditors. In a joint case, both spouses
    must attend. Creditors may attend, but are                                                                     TRUSTEE
                                                  The trustee is designated to preside at the meeting of
    not required to do so.                        creditors. The case is covered by the chapter 7 blanket
                                                  bond on file with the court.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                      Filing deadline: 10/24/22
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                  it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                  that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                  to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                  have any questions about your rights in this case.


12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                  distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                  the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe that the law does not
                                                  authorize an exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office
                                                  must receive the objection by the deadline to object to exemptions in line 9.
                                                                                                        For more information, see pages 1 and 3 >
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Debtor Sharon Waizenhofer                                                                                        Case number 8:22−bk−11137−SC

 13. Proof of Debtor                 The U.S. Trustee requires that individual debtors must provide to the trustee at the meeting of creditors an
     Identification (ID) and         original picture ID and proof of SSN. Failure to do so may result in the U.S. Trustee bringing a motion to dismiss
                                     the case. Permissible forms of ID include a valid state driver's license, government or state−issued picture ID,
     Proof of Social Security        student ID, military ID, U.S. Passport or legal resident alien card. Proof of SSN includes Social Security Card,
     Number(SSN)                     current W−2 form, pay stub, payment advice, IRS Form 1099, Social Security Administration Report, or other
                                     official document which indicates name and SSN.

 14. Failure to File a               IF THE DEBTOR HAS NOT FILED A STATEMENT AND/OR SCHEDULE(S) AND/OR OTHER REQUIRED
     Statement and/or                DOCUMENTS, the debtor must do so, or obtain an extension of time to do so, within 14 days of the petition filing
                                     date. Failure to comply with this requirement, or failure to appear at the initial section 341(a) meeting of creditors
     Schedule(s)                     and any continuance, may result in dismissal of the case, unless leave of court is first obtained. If the debtor's
                                     case has not already been dismissed, AND DEBTOR FAILS TO DO ONE OF THE FOLLOWING WITHIN 45
                                     DAYS AFTER THE PETITION DATE, subject to the provisions of Bankruptcy Code section 521(i)(4), the court
                                     WILL dismiss the case effective on the 46th day after the petition date without further notice: (1) file all
                                     documents required by Bankruptcy Code section 521(a)(1); or (2) file and serve a motion for an order extending
                                     the time to file the documents required by this section.

                                     SI EL DEUDOR NO HA PRESENTADO UNA DECLARACIÓN Y/O LISTA(S) DE ACREEDORES Y/U OTROS
                                     DOCUMENTOS REQUERIDOS, tendrá que hacerlo dentro de un plazo de 14 días a partir de la fecha de
                                     presentación de la petición o tendrá que obtener una extensión del plazo para hacerlo. Si no cumple usted este
                                     requisito, o si no comparece a la junta 341(a) inicial de acreedores o a cualquier aplazamiento, esto resultará en
                                     que se declare sin lugar el caso, a menos de que obtenga un permiso del tribunal. Si no se ha declarado sin
                                     lugar el caso del acreedor, Y EL ACREEDOR NO HACE UNA DE LAS SIGUIENTES COSAS DENTRO DE UN
                                     PLAZO DE 45 DÍAS A PARTIR DE LA FECHA DE LA PETICIÓN, de acuerdo con lo dispuesto en la sección
                                     521(i)(4) del Código de Quiebras, el juez DECLARARÁ el caso sin lugar a partir de el 46o día después de la
                                     fecha de presentación de petición sin más notificación: (1) registrar en actas todos los documentos que requiere
                                     la sección 521(a)(1) del Código de Quiebras; o (2) registrar y hacer entrega formal de una moción para pedir
                                     una orden que extienda el tiempo en que se pueden registrar en actas los documentos que requiere dicha
                                     sección.

 15. Bankruptcy Fraud and            Any questions or information relating to bankruptcy fraud or abuse should be addressed to the Fraud Complaint
     Abuse                           Coordinator, Office of the United States Trustee, 411 West Fourth Street, Suite 7160, Santa Ana, CA 92701.




                                                                                                        For more information, see pages 1 and 2 >
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